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 6                             IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Honey R. Siegal,                             )    No. CV 06-1641-PHX-JAT
                                                  )
10                Plaintiff,                      )    ORDER
                                                  )
11   vs.                                          )
                                                  )
12                                                )
     Cathie Jarboe; et al.,                       )
13                                                )
                  Defendants.                     )
14                                                )
                                                  )
15
16            Under 28 U.S.C. § 1915(e)(2)(B), when a Plaintiff is proceeding in forma pauperis,
17   "the court shall dismiss the case at any time if the court determines that - - ... (B) the action
18   or appeal - - (i) is frivolous or malicious; (ii) fails to state a claim on which relief may be
19   granted; or (iii) seeks monetary relief against a defendant who is immune from such relief."
20   In this case, Plaintiff is proceeding in forma pauperis. After reviewing the complaint, and
21   considering Plaintiff's arguments at the emergency hearing, the Court finds that Plaintiff fails
22   to state a claim against any federal or state actor as follows. Additionally, having found that
23   Plaintiff fails to state a claim against any federal or state actor, the Court finds that any basis
24   for federal subject matter jurisdiction (such as 42 U.S.C. § 1983 or Bivens) has been
25   dismissed with the federal and state actors. Having found that there is no basis for federal
26   subject matter jurisdiction, the Court declines to exercise supplemental jurisdiction over the
27   remaining state law claims (without deciding whether any of those claims state a claim).
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 1          State of Arizona and Governor Janet Napolitano. At the hearing, Plaintiff advised
 2   the Court that her only claims against the state of Arizona arose from the conduct of
 3   Governor Napolitano; therefore, this Defendant shall be treated as a single entity. Plaintiff's
 4   claim against the Governor is that the Governor gave a grant to Gold Creek, Inc. of
 5   Scottsdale, which Plaintiff claims (without support) is a company that really belongs to
 6   Plaintiff. Regardless of whether at some point Plaintiff was defrauded out of her alleged
 7   ownership of this company, Plaintiff's allegation that the Governor gave this company a grant
 8   check fails to state a claim against the Governor. Therefore, Governor Napolitano and the
 9   state of Arizona will be dismissed. Plaintiff's Motion to Compel Governor Napolitano (Doc.
10   #6) will be denied as moot.
11          Douglas E. Middleton, Constable North Valley Justice Court. At the hearing,
12   Plaintiff claimed that Constable Middleton forcibly evicted her from her home. At the
13   hearing, Plaintiff read from the order on the forcible entry and detainer that Constable
14   Middleton executed against her. Therefore, because Constable Middleton was acting
15   pursuant to a Court order, the Court finds Plaintiff fails to state a claim against him.
16   Alternatively, the Court finds that because Constable Middleton was acting pursuant to a
17   Court order, he is entitled to qualified immunity; and, under § 1915(e)(2)(b)(iii) Plaintiff
18   cannot proceed against officer Middleton because she is seeking monetary relief against
19   someone who is immune from such relief.
20          Jacqueline McVey and Gerald Williams. Both of these individuals are judges who
21   in some way presided over the forcible entry and detainer against Plaintiff. First, the Court
22   finds that all of Plaintiff's claims against these judges are complaints about their rulings in
23   the case and therefore fail to state a claim. Alternatively, the Court finds that these judges
24   are entitled to judicial immunity; and, under § 1915(e)(2)(b)(iii) Plaintiff cannot proceed
25   against McVey and Williams because she is seeking monetary relief against individuals who
26   are immune from such relief.
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 1          Doug Patterson, Canadian Consulate "trade commissioner." Plaintiff claims that
 2   Mr. Patterson is a fraud because he does not provide international assistance. The Court
 3   finds that Plaintiff fails to state a claim against Mr. Patterson.
 4          Ryan Cuancara, Department of the Treasury, United State of America. Plaintiff
 5   has advised the Court that she gave Mr. Cuancara some exhibits, he took the exhibits, he then
 6   returned the exhibits to her, and took no further action. The Court finds that Plaintiff fails
 7   to state a claim against Mr. Cuancara.
 8          The Court finds that all other parties listed on the complaint are not state or federal
 9   actors and any claims against them do not provide a basis for federal subject matter
10   jurisdiction. Additionally, because the Court declines to exercise supplemental jurisdiction
11   over any potential state law claims, this action will be dismissed.
12          Finally, and alternatively, at the conclusion hearing the Court asked Plaintiff what
13   relief she was seeking. She stated that she was seeking to have the Court evict the people
14   currently living in her former home, order that she be allowed to move back into her former
15   home, indict Richard Stober (Plaintiff's ex-husband), order that all accounts and properties
16   in the name of Richard Stober be transferred into Plaintiff's name, and order the United
17   State's Attorney's Office and the Federal Bureau of Investigations to investigate her claims.
18   Under § 1915(e)(2)(B)(i) the Court finds all of this requested relief to be either malicious
19   (because it is seeking to re-litigate issues decided by Plaintiff's divorce decree) or frivolous
20   (because it is seeking relief beyond the jurisdictional powers of the Court). Therefore, for
21   this alternative reason, the Complaint will be dismissed.
22          Based on the foregoing,
23          IT IS ORDERED that pursuant to 28 U.S.C. § 1915(e)(2)(B), this action is dismissed
24   for the reasons stated above; and the Clerk shall enter judgment accordingly;
25          IT IS FURTHER ORDERED that the Motion to Compel Governor Napolitano
26   (Doc. #6) and the Motion for Permanent Waiver of all fees (Doc. #5) are denied as moot; and
27   ///
28   ///

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 1          IT IS FURTHER ORDERED that the Motion for deferral of fees for transcript of
 2   hearing (Doc. #7) is still pending and will be addressed by separate order.
 3          DATED this 17th day of July, 2006.
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